Case 2:16-cv-10304-AJT-RSW ECF No. 43-4, PagelD.452 Filed 05/11/16

EXHIBIT C

Page 1 of 4

 
51/2016 Case 2:16-cv-10304-AJT-RSW ECF MeginéSedi, IRagetiss#i&3 Filed 05/11/16 Page 2 of 4

 

   

et

CLASSICAL HYBRID EDUCATION IN THE CATHOLIC TRADITION

 

 

ABOUT US ©

ADMISSIONS

VISION ~

ACADEMICS RCA LOCATIONS * ADMISSIONS

QUICK LINKS

 

Admissions

 

http:/Avww.rcahybrid.org/Apply

 

APPLY NOW

 

Admissions Process

We encourage all prospective families to schedule a
tour at their closest Regina Caeli center prior to
applying. This is usually the best discernment tool we
can offer! If Regina Caeli is definitely for your family,
the next step is submitting the application along with a
non-refundable application fee.

Upon receipt of the application, the local coordinator of
education will contact you to schedule a family
interview (both parents must be present) at the center
during class hours. The interview is very important to
the admissions process, since Regina

Caeli communities depend on awareness of and
eagerness for the Regina Caeli model.

After the family interview, you will receive notice of
acceptance and whether there is space for your
child(ren) in their respective grade levels. Your
student(s) will take the Regina Caeli assessments in
Math, Language Arts, and Latin in the late spring or
during the summer depending upon when admission to

1/3
12016 Case 2:16-cv-10304-AJT-RSW ECF IeginéBadi, agertissibhst Filed 05/11/16 Page 3 of 4

http:/Avww.rcahybrid.org/Apply

Regina Caeli takes place. These assessments finalize
the student's placement and ensure his or her success at
Regina Cael.

We look forward to hearing from you!

Tuition and Fees

Application and Assessment Fees

$175.00 online application fee per family

$ 50.00 Ist-12th grade student entrance assessment
fee/transcript review with a family max of $200.00*
*Due prior to the administration of assessments

Tuition

Drop Off Program - Mondays and Thursdays

$ 2250.00 per year per student Prek-3 — Full Day

$ 2750.00 per year per student Prek-4 - Full Day

$ 3000.00 per year per student Kindergarten - Full Day
$ 3250.00 per year per student for Ist - 6th grades

$ 3750.00 per year per student for 7th - 8th grades

$ 4000.00 per year per student for 9th - 12th grades

Staff and Volunteer Membership - Mondays and
Thursdays

$3250.00 per family per year for unlimited number of
children

$650.00 per student for 7th - 12th grades

Yearly Fees**

$185.00 one-time Family Supply Fee

$50.00 per child IOWA Testing Fee (1st-12th grades)
$45.00 Retreat Fee (7th-12th grades) (Retreat is
mandatory)

$46.00 FACTS fee (Set up fee for tuition and family

213
sti2016 Case 2:16-cv-10304-AJT-RSW ECF IRéyind Gadi, IRaGenissais5 Filed 05/11/16 Page 4 of 4

account)

** A Family Fundraising goal per semester, as
determined by the Board of Directors based on yearly
budget needs.

Books ordered and purchased by family.

 

 

http:/Avww.rcahybrid.org/Apply

Regina Caeli, Inc. Corporate Office
1565 Holcomb Bridge Road
Roswell, GA 30076-2517

Corparate/Business: (678) 878-2500
Admissions: (470) 239-0259
Greta McDonough
emcdonough@rcahybrid.org

Satellite Inquiries:
Kari Beckman, Executive Director
kbeckman¢ercahybrid.org

 

Copyright © 2014-2016 Regina Caeli, Inc.

3/3
